

Bartlett v Tribeca Lending Corp. (2024 NY Slip Op 01668)





Bartlett v Tribeca Lending Corp.


2024 NY Slip Op 01668


Decided on March 26, 2024


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: March 26, 2024

Before: Webber, J.P., Kern, Kennedy, Higgitt, Michael, JJ. 


Index No. 100005/20 Appeal No. 1918 Case No. 2023-05584 

[*1]Gregory M. Bartlett, Appellant,
vTribeca Lending Corp. et al., Respondents.


Gregory M. Bartlett, appellant pro se.



Appeal from order, Supreme Court, New York County (Adam Silvera, J.), entered April 10, 2023, which denied plaintiff's letter request for leave to file a new action relating to a prior foreclosure action, unanimously dismissed, without costs, as taken from a nonappealable paper.
The order appealed from is not appealable as of right because it was not made in an action and did not decide a motion made upon notice (CPLR 5701[a][2]; see Sholes v Meagher, 100 NY2d 333, 335 [2003]; Djeddah v Williams, 134 AD3d 479, 480 [1st Dept
2015]). We decline to exercise our discretion to deem the notice of appeal a motion for leave to appeal. THIS CONSTITUTES THE DECISION AND ORDER
OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: March 26, 2024








